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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                           Case No. 07-20531
                                                           Honorable Thomas L. Ludington
v.

D-8 WILLIE FLOYD JACKSON,

                      Defendant.
                                            /

     ORDER DENYING DEFENDANT’S MOTION FOR REDUCTION OF SENTENCE

       Willie Jackson was sentenced to a term of 120 months’ imprisonment for distributing

crack cocaine. On October 20, 2011, Jackson filed a motion to reduce his sentence based on the

retroactive application of the Fair Sentencing Act pursuant to 18 U.S.C. § 3582(c). Jackson’s

motion will be denied.

                                                I

       The Anti-Drug Abuse Act of 1986 established severe penalties for the possession and

distribution of crack cocaine. The disparity between the penalties for distributing crack cocaine

and powder cocaine was dramatic: 100-to-1. As the Supreme Court observed, the Act “imposed

upon an offender who dealt in powder cocaine the same sentence it imposed upon an offender

who dealt in one-hundredth that amount of crack cocaine.” Dorsey v. United States, 132 S. Ct.

2321, 2326 (2012).

       In 2010, Congress enacted the Fair Sentencing Act (FSA), which narrowed the disparity

between sentences for crack cocaine offenders and powder cocaine offenders. Instead of 100-to-

1, it now stands at 18-to-1. In other words, the FSA imposes upon an offender who dealt in
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powder cocaine the same sentence it imposes upon an offender who dealt in one-eighteenth that

amount of crack cocaine. The FSA took effect on August 3, 2010. Id. at 2329.

       The Sixth Circuit originally concluded that the FSA did not affect the penalties associated

with crimes committed before the statute’s effective date. See United States v. Carradine, 621

F.3d 575, 580 (6th Cir. 2010). But with Dorsey, the Supreme Court established that “Congress

intended the [FSA’s] new, lower mandatory minimums to apply to the post-Act sentencing of

pre-Act offenders.” 132 S. Ct. at 2335. Accordingly, the proper guidelines to consider when

sentencing a defendant are those in effect at the time of sentencing, not those in effect when the

underlying crime was committed.

                                                II

           On August 12, 2008, Jackson pleaded guilty to distributing approximately 60 grams of

cocaine base. Rule 11 Agreement 2, ECF No. 155. A presentence report calculated Jackson’s

base offense level as 30, with a three-level reduction based on acceptance of responsibility, for a

total offense level of 27. Jackson’s criminal history was set as category II. The resulting

guidelines range of imprisonment was 78 to 97 months. The presentence report also noted,

however, that a mandatory minimum of 120 months applied. On November 25, 2008, the Court

sentenced Jackson to the lowest possible sentence—120 months’ imprisonment. See J. 2, ECF

No. 194.

       As noted above, in 2010 Congress enacted the FSA, which substantially reduced the

mandatory minimums associated with crack cocaine offenders like Jackson. On October 20,

2011, Bryant filed a motion for retroactive application of the FSA. But the Sixth Circuit’s recent

en banc decision in United States v. Blewett, 746 F.3d 647 (6th Cir. 2013) forecloses the

possibility of relief. There, the en banc panel established that the FSA “does not apply to



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defendants sentenced before its effective date.” Id. at 655. So because Jackson was sentenced

before the FSA took effect in August 3, 2010, the Act’s reduced mandatory minimums do not

apply to him.

       Although the Court appointed the Federal Defender’s Office to represent Jackson on his

motion, appointed counsel has indicated that he “wrote to [Jackson] and advised him that the law

in this Circuit did not appear to support his request for a sentence reduction,” but that Jackson

did not respond to the letter. See Notice 1–2, ECF No. 355. Indeed, because Jackson’s claims

are without merit, the fact that counsel was previously appointed is irrelevant.

                                                    III

       Accordingly, it is ORDERED that Jackson’s motion for retroactive application of the

FSA, ECF No. 278, is DENIED.

Dated: June 6, 2014                                                 s/Thomas L. Ludington
                                                                    THOMAS L. LUDINGTON
                                                                    United States District Judge


                                          PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing
                         order was served upon each attorney or party of record
                         herein by electronic means or first class U.S. mail on June
                         6, 2014.

                                                    s/Tracy A. Jacobs
                                                    TRACY A. JACOBS




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